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DISTRICT OF OREGON                     ss:     AFFIDAVIT OF LEXIE WIDMER

             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Lexie Widmer, being duly sworn, do hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a special agent (SA) duly sworn and employed by the U.S. Department of

Justice Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF). I am currently assigned to

the Portland Field Office, located within the Seattle, Washington, Field Division. I have been

employed as a special agent since July 2017.

       2.      I completed a twelve-week Criminal Investigator Training Program (CITP) and a

fifteen-week Special Agent Basic Training (SABT) at the ATF National Academy/Federal Law

Enforcement Training Center (FLETC) in Glynco, Georgia.

       3.      I am responsible for investigations involving specified unlawful activities, to

include violent crimes involving firearms that occur in the District of Oregon. I am also

responsible for enforcing federal firearms, arson, and explosives laws, and related statutes in the

District of Oregon. I received training on the proper investigative techniques for these

violations, including the identification of firearms and location of the firearms’ manufacture. I

have actively participated in investigations of criminal activity, including but not limited to:

crimes against property, narcotics-related crimes, and crimes involving the possession, use, theft,

or transfer of firearms. During these investigations, I have also participated in the execution of

search warrants and the seizure of evidence indicating the commission of criminal violations.

       4.      I submit this affidavit in support of a criminal complaint and arrest warrants for

CYAN BASS for Arson in violation of 18 United States Code, Section 844(f)(1). As set forth


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below, there is probable cause to believe, that BASS committed arson by maliciously damaging

and destroying, and attempting to damage and destroy, a building and personal property of an

institution and organization receiving federal financial assistance in violation of 18 U.S.C. §

844(f)(1).

       5.       This affidavit is intended to show only that there is sufficient probable cause for

the requested complaint and arrest warrant and does not set forth all of my knowledge about this

matter. The facts set forth in this affidavit are based on my own personal knowledge, knowledge

obtained from other individuals during my participation in this investigation, including other law

enforcement officers, interviews of witnesses, a review of records related to this investigation,

communications with others who have knowledge of the events and circumstances described

herein, and information gained through my training and experience.

                                          Applicable Law

       6.       Title 18 United States Code, Section 844(f)(1), provides that it is unlawful to

maliciously damage or destroy, or attempt to damage or destroy, by means of fire, any building,

vehicle, or other personal or real property in whole or in part or possessed by any institution or

organization receiving federal financial assistance.

                                  Statement of Probable Cause

       7.       Based on another ATF agent’s review of documentation and my conversations

with that agent, I am aware that the Justice Center is owned in part by both Multnomah County, a

political subdivision of the State of Oregon, and the City of Portland, an Oregon municipal

corporation. The Justice Center houses the Multnomah County Detention Center jail (hereinafter,

“MCDC”) and the headquarters of the Portland Police Bureau (hereinafter, “PPB”). According


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to a Multnomah County Sheriff’s Office Daily Summary Report, on September 23, 2020, MCDC

housed approximately 268 inmates.

       8.      Based on another ATF agent’s review of documentation, Multnomah County and

the City of Portland receive federal financial assistance. The MCDC, primarily a county jail,

houses inmates including some inmates who are in the custody of the Attorney General and the

U.S. Marshals Service (hereinafter, “USMS”). I reviewed communications with MCDC

corrections staff and learned that, the total inmate population at MCDC on 9/23/2020 was 268.

Of those inmates housed at MCDC on 9/23/2020, 25 inmates were exclusively being held on

federal matters. Usually, all inmate records are maintained at MCDC (Justice Center) as the

Corrections Records Unit office is located there, however, due to the breach of the office and

subsequent fire the Corrections Records Unit was forced to relocate to MCIJ (Inverness Facility)

temporarily until the office space can be renovated and repaired.

       9.      Based on an ATF agent’s review of documentation from the Justice Department’s

Office of Justice Program (OJP), Multnomah County and the City of Portland are receiving

approximately 16 Federal monetary awards and financial assistance from OJP. The OJP focuses

on crime prevention through research and development, assistance to state, local,

and tribal criminal justice agencies, including law enforcement, corrections, and juvenile

justice through grants and assistance to crime victims. The City of Portland had active grants in

the amount of approximately $8.3 million and Multnomah County had active grants in the

amount of approximately $3.7 million. From documentation provided by the U.S. Treasury, the

City of Portland received and distributed approximately $114 million in CARES Act funding and

that Multnomah County received approximately $28 million, which is Federal financial


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assistance.

       10.       On September 23, 2020, law enforcement officers conducting surveillance for

unlawful activity during protests occurring in downtown Portland, Oregon, observed an

individual, later identified as CYAN BASS, walking east on Southwest Main Street, on the north

side of the building that houses the Portland Police Bureau (PPB) Central Precinct, located at

1111 Southwest 2nd Avenue (hereinafter “the target building”). This building also houses the

Multnomah County Justice Center. Bass was observed dressed in a black jacket, dark pants,

with a black cloth face covering, carrying a black backpack. The backpack had a black baseball

cap attached to it. At one point in the evening, Bass was also seen holding a crowbar. Bass was

accompanied by an associate, later identified as H.L. H.L. was wearing an orange backpack.

       11.       On this evening, officers saw BASS use a slingshot or wrist-rocket to shoot

projectiles through the windows of the PPB Central Precinct portion of the targeted building.

Officers later collected a white marble from within the Central Precinct.

       12.       Officers observed BASS as he used a container to squirt a liquid at plywood

covering a section of the north side of the targeted building. Officers observed BASS attempt to

light the plywood on fire. This attempt to set the plywood on fire was unsuccessful.

       13.       Officers continued to follow and observe BASS. He briefly walked away and then

returned to the plywood section on the north side of the targeted building. BASS squirted

additional liquid at the plywood window-covering and lit the plywood on fire. Officers saw the

fire spread to the awning. This fire extinguished itself.

       14.       See below for a screenshot of a video posted to social media on September 23,

2020, at 10:24 p.m. captioned as “Fire started and riot declared. The fire is currently no longer


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burning.” I reviewed this video and believe that this is the same fire officers saw Bass set at the

north side of the targeted building. The fire caused visible scorching to the plywood.




       15.      Officers later saw BASS walk to the east side of the targeted building, near the

entrance to the Central Precinct. BASS again squirted a liquid at the plywood that covered

sections of the building. BASS then lit the plywood on fire. This fire quickly spread to the

awning above, causing scorching to the plywood and concrete and damaging the awning.

       16.      See below, for a screenshot from a video posted to social media on September 23,

2020, at 10:29 p.m. captioned as “Fire at the justice center in Portland:” I reviewed this video

and believe it shows the fire set by Bass at the east side of the targeted building.

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       17.      See below, for a series of images from a video posted to social media on

September 24, 2020, which depict the suspect, BASS, light the Central Precinct plywood and

awning on fire:




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       18.      Officers kept BASS and his companion in sight, until other officers located and

arrested BASS and his companion at about 10:45 p.m.

       19.      When officers searched BASS incident to arrest, they found white marbles in

BASS’s pocket.



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       20.      During my review of police reports, I noted that BASS’s property included a clear

bottle with an unknown liquid, a black crowbar, a black slingshot with a yellow band, two

lighters, and a black baseball cap.

                                            Conclusion

       21.      Based on the foregoing, I have probable cause to believe, and I do believe, that

CYAN BASS maliciously damaged and destroyed, and attempted to damage and destroy, by

means of fire, a building and other personal property belonging to Multnomah County and the

City of Portland, which are both institutions and organizations receiving federal financial

assistance, in violation of 18 U.S.C. § 844(f)(1). I therefore request that the Court issue a

criminal complaint and arrest warrant for BASS.

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                                       Request for Sealing
       22.      It is respectfully requested that the Court issue an order sealing, until further order

of the Court, all papers submitted in support of the requested search warrant, including the

application, this affidavit, the attachments, and the requested arrest warrant. I believe that sealing

these documents is necessary because the information is relevant to an ongoing investigation,

and any disclosure of the information at this time may cause flight from prosecution, destruction

of or tampering with evidence, or otherwise seriously jeopardize an investigation. Premature

disclosure of the contents of the application, this affidavit, the attachments, and the requested

arrest warrant may adversely affect the integrity of the investigation.

                                                        /s/ Lexie Widmer
                                                       _________________________
                                                       Lexie Widmer
                                                       Bureau of Alcohol, Tobacco, Firearms and
                                                       Explosives


Sworn to via telephone pursuant to Fed. R. Crim. P. 4.1 atSP
                                                        atSPonSeptember,
                                                         t            on Septemberr  2020.


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                                                       HON.
                                                          N YOULEE YIM YOU
                                                       U.S. Magistrate Judge




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